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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   AT HUNTINGTON


JONATHAN R., et al.,

               Plaintiffs,


v.                                                    CIVIL ACTION NO. 3:19-cv-00710

JIM JUSTICE, et al.,

               Defendants.



                                    CLERK’S ORDER

         Pursuant to [310] Order, this action is hereby REASSIGNED from the docket of the

Honorable Thomas E. Johnston, United States District Judge, to the Honorable Joseph R.

Goodwin, United States District Judge.

         Copies of this Order shall be forwarded by the Clerk to Judge Johnston,

Judge Goodwin, counsel of record, and any unrepresented party.


                                          DATED: April 3, 2023




                                          _________________________________________
                                          RORY L. PERRY II, Clerk of Court
